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:                  Fw: REDACTED version of Defense Filing of April 27, 2010
                   William Teesdale     to: Michelle Sweet                                         11/17/2010 01:22 PM

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       Forwarded by William Tesdale                                             -




 From:             “Slade, Scooter.
 To:               “Gordcr Charles                                             “Cardapi, Chris
                                                                                                 “‘Steve Wax’
                                -          “William Teesdaie’
                   “Christy_Weller
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 Cc:               “MrPatPjazzat
                            <Christine.t.Gunning
 Date:             08127/2U10 10:24 AM
 Subject:          REDACTED version of Defense Filing of April 27, 2010


All—

Please see attached redacted (unclassified) version of the Defense Filing of April 27, 2010. I apologize for the delay
in getting this to the Court.

While the document has been reviewed by the relevant intelligence agencies, and their redactions have been
provided and subsequently deleted from this document, I will leave it to the Court’s discretion as to whether it
remains “Under Seal” for purposes of the Court’s docket. Nonetheless, these documents may now be accessed
and stored sans classified document security handling procedures, and at minimum, the same as other materials
under seal.

Thanks for everyone’s patience, please don’t hesitate to contact me if you should have any questions      otherwise I
will see you all next week.

W. Scooter Slade
Litigation Security Group
U.S. Department of Justice




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